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                                                        June 11,2019



        VIA ELECTRONIC CASE FILING
       Hon. Colleen McMahon
        U. S. District Chief Judge
        Southern District of New York
       500 Pearl Street
       New York, NY 10007

                Re:       Brown, et al. v. Showtime Networks, Inc. et al.
                          l:18-cv-11078-CM


       Dear Hon. Chief Judge McMahon:

                       This firm represents Tracey Baker-Simmons, Wanda Shelley, B2 Entertainment
       LLC and Simmons Shelley Entertainment, LLC("Simmons/Shelley Defendants"). This letter is
       to request(1)an adjournment of the June 21,2019 initial conference; and (2)shall serve as a
       letter motion to amend the pleadings such that my clients can join in Showtime's pending motion
       to dismiss.


                        With respect to the adjournment ofthe June 21 conference, this request is on
       consent. I had not yet appeared in the action when the June 21 date was selected, and I have a
       vacation scheduled to Alaska from June 21- June 29, 2019. I request the conference be moved
       until after July 4, 2019 to accommodate all counsel.

                                         MOTION TO AMEND ANSWER


                          As stated above, this office was not counsel in this matter when the Simmons/
       Shelly Defendants filed an answer to the Complaint. Since filing the answer. Defendants
       Showtime and BBC made a motion to dismiss the complaint per FRCP 12(b)(6) citing various
       constitutional defenses to the complaint. After reviewing the motion, it became apparent that
       these defenses apply similarly to the Simmons/Shelly Defendants as well. Accordingly, I am
       requesting that pursuant to FRCP 15, that my clients are permitted to file a motion to dismiss the
       complaint that tracks the arguments raised by Showtime.

                          I have asked for consent of my adversaries, and Plaintiff did not agree to allow me
       to make the motion on consent.
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